 Case 8:03-cr-00054-CEH Document 404 Filed 01/28/09 Page 1 of 2 PageID 2286




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA,                         :
                                                  :
       Plaintiff,                                 :
                                                  :
v.                                                : Case No. 8:03-CR-54-T-17TBM
                                                  :
LESLIE BARNES,                                    :
                                                  :
       Defendant,                                 :
                                                  :
       and                                        :
                                                  :
NATIONAL FINANCE SERVICES,                        :
                                                  :
       Garnishee.                                 :

                            FINAL ORDER IN GARNISHMENT

       THIS CAUSE came on for consideration upon the United States of America’s

Motion for Entry of Final Order in Garnishment pursuant to 28 U.S.C. § 3205(c)(7)

against Defendant Leslie Barnes’s Individual Retirement Account, number FIR-829544.

The Court, having considered the Application for Writ of Garnishment, Garnishee

National Finance Services’ Answer, and the instant Motion for Entry of Final Order in

Garnishment, and noting that Defendant has not claimed any exemptions with respect

to this garnishment and has not requested a hearing with respect to this garnishment,

finds that the entry of a final order in garnishment is in all respects proper.

       Accordingly, it is

       ORDERED, ADJUDGED, AND DECREED that the United States of America’s

Motion for Entry of Final Order in Garnishment is granted. It is further

       ORDERED, ADJUDGED, AND DECREED that Garnishee National Finance

Services shall forthwith liquidate Individual Retirement Account, number FIR-829544,
 Case 8:03-cr-00054-CEH Document 404 Filed 01/28/09 Page 2 of 2 PageID 2287




and pay over to the United States the proceeds of that account, not to exceed

$295,312.79, more or less. The payment made to the United States pursuant to this

Order shall bear the notation “Leslie Barnes, Case No. 8:03-cr-54-T-17TBM,” be made

payable to “Clerk, United States District Court,” and be sent to:

                Clerk, United States District Court
                ATTN: DCU
                300 North Hogan Street, Suite 9-400
                Jacksonville, Florida 32202.

It is further

        ORDERED, ADJUDGED, AND DECREED that upon payment to the United

States of the proceeds of Individual Retirement Account, number FIR-829544, the Writ

of Garnishment issued to National Finance Services shall terminate pursuant to

28 U.S.C. § 3205(c)(10). It is further

        ORDERED, ADJUDGED, AND DECREED that inasmuch as no statutory fee is

required in Federal garnishments pursuant to 28 U.S.C. § 3205, Garnishee National

Finance Services’ demand for payment of such fee is denied as moot.

        DONE and ORDERED at Tampa, Florida, on January 28, 2008 .




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